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                   Exhibit 1
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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


    Jane Doe 1, individually and on behalf of                   Case No. 1:22-CV-10018 (JSR)
    all others similarly situated,

       Plaintiff,

           v.

Deutsche Bank Akteingesellschaft, et. al.,

     Defendants.



       DECLARATION OF CLAIMS ADMINISTRATOR SIMONE K. LELCHUK
     REGARDING ADMINISTRATION OF NOTICE AND PROCESSING OF CLAIMS

          Pursuant to 28 U.S.C. § 1746, SIMONE K. LELCHUK hereby declares as follows:

          1.        I am a mediator and settlement fund administrator and was appointed by this Court

to serve as the Claims Administrator 1 in this Litigation. I am over twenty-one (21) years of age

and am authorized to make this declaration. The following statements are based on my personal

knowledge and information provided to me by those working under my general supervision on

this matter and, if called upon, I could and would testify competently thereto.

          2.        Before my appointment as Claims Administrator, I previously served as the co-

mediator in connection with the proposed settlement of this Litigation. I have served as a mediator

in hundreds of cases. I mediate across many practice areas; however, I have extensive experience

in sexual harassment and abuse cases. I have been involved in successfully designing the claims

process and distribution of settlement funds with a significant amount of my work involving both

funds set up for the benefit of victims/survivors and working directly with the victims/survivors



1
    Capitalized terms used herein shall have the same meaning as ascribed to them in the Amended Stipulation of
    Settlement (ECF No. 94-1).
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themselves. I find the need for extreme sensitivity when handling these types of matters so

important that I obtained my Trauma Informed Certification from the National Center for Equity

& Agency.

       3.     In addition to the settlement of this case, I have significant additional experience

with evaluating claims of abuse made by women against Jeffrey Epstein. I successfully served as

the mediator in approximately forty cases with women who did not receive or accept an allocation

from, or participate in, the Epstein Victims’ Compensation Fund. I also successfully mediated

claims of abuse by victims of Harvey Weinstein against The Weinstein Company that ultimately

resulted in the creation of a fund that I administered for the benefit of the survivors under the

supervision of the United States Bankruptcy Court for the District of Delaware. I also personally

handled all of the survivor interviews for the USA Gymnastics settlement fund at the request of

the court appointed claims administrator. I take great professional and personal pride in the

feedback I have received from survivors who have told me that my approach to handling the fund

administration made the survivors feel heard and helped them move forward towards closure.

       4.     In this matter, I assisted the Settling Parties in devising the methodology for the

Plan of Allocation, which is based on the methodology I have used in other cases. As described

in the Notice, the Plan contemplates that each Class Member who submits a valid and timely Tier

One Form to the Claims Administrator, and does not otherwise exclude herself from the Class, and

who is not otherwise deemed ineligible by the Claims Administrator, will receive $75,000, thereby

becoming an Eligible Class Member. An Eligible Class Member cannot receive more than

$75,000 without submitting a second, more detailed claim form and qualifying for Tier Two status.

To qualify for Tier Two status, an Eligible Class Member who submits a valid and timely Tier

Two Questionnaire and Release to the Claims Administrator, and who is not otherwise deemed

ineligible by the Claims Administrator, is eligible to receive an additional Allocated Amount



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totaling up to a maximum of $5,000,000 (inclusive of the $75,000 available to all Eligible Class

Members) from the Settlement. The Plan of Allocation describes the various factors and criteria

that I will take into consideration in determining an Allocated Amount within Tier Two.

       5.       On June 16, 2023, the Court appointed me as Claims Administrator in the

Litigation.

       6.       Following my appointment, on or about June 18, 2023, I received from Class

Counsel an Excel file with the unique names and addresses of potentially Eligible Class Members.

       7.       To help facilitate notice and publication of the Settlement, I engaged Omni Agent

Solutions (“Omni”), a leading claims and noticing agent that has considerable experience aiding

in the administration of settlements of highly-sensitive cases, including cases involving claims of

sexual abuse.

       8.       Pursuant to the Court’s Preliminary Approval Order, on June 28, 2023, I caused

Omni to transmit, via First-Class Mail, a copy of the Notice, Tier One Form, Tier Two

Questionnaire and Release, and the Opt-Out Form (the “Notice Packet”) to all potentially eligible

Class Members, or their counsel, identified to me by Class Counsel. To the extent I was only

provided with an email address for a potentially Eligible Class Member, or a Notice Packet sent

by First-Class Mail to a potentially Eligible Class Member was returned as undeliverable, but I

had been provided with an email address for that potentially Eligible Class Member, I personally

emailed the potentially Eligible Class Member the Claims Packet; to the extent a Notice Packet

emailed to a potentially Eligible Class Member was returned as undeliverable, I directed my

counsel, Elise S. Frejka, Esq., to research alternative physical or email addresses and attempt

service through alternate means. Finally, a Notice Packet was sent to anyone who requested one

from me, including as a result of the publication notice described in paragraph 8.

       9.       On July 7, 2023, I caused the Summary Notice to be published in USA Today and



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Gazeta Wyborcza, as the Court ordered. Attached hereto as Exhibit A-1 is a copy of the Summary

Notice as published in USA Today and attached hereto as Exhibit A-2 is a copy of the Summary

Notice as published in Gazeta Wyborcza.

       10.     In coordination with Class Counsel and with the assistance of Omni, I established

and currently maintain a dedicated website entitled “Epstein Survivors’ Settlement Fund DB” (the

“Settlement Website”) to provide (i) additional information to potentially Eligible Class Members,

(ii) answers to frequently asked questions and contact information for me and Class Counsel for

potentially Eligible Class Members to raise additional questions, and (iii) a mechanism for

potentially Eligible Class Members to download and submit Settlement Forms electronically. The

website became operational on June 28, 2023 and is accessible 24 hours-a-day, seven days-a-week.

However, subsequent to the deadline for timely submitting claims, I directed Omni to disable to

the claim submission link. The address for the Settlement Website is set forth in the Notice, the

Summary Notice, and the Claim Form: https://www.epsteinssfdb.com/. The Settlement Website

includes information regarding the Litigation and the Settlement, including the exclusion,

objection, and claim-filing deadlines, the date, time, and location of the Court’s Settlement

Hearing, and documents relevant to the Litigation, including the Complaint, the Stipulation, and

the Preliminary Approval Order. Copies of the Notice and all Settlement Forms, including the

Opt-Out Form are posted on the website in four different languages and are available for

downloading. As noted above, potentially Eligible Class Members could, through the claim

submission deadline, also complete and submit Settlement Forms through the website. I have been

updating and will continue to update the Settlement Website as necessary throughout the

administration of the Settlement.

       11.     The Notice informs potentially Eligible Class Members that requests for exclusion

from the Class must be submitted via Opt-Out form such that they were postmarked or submitted



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electronically by no later than July 28, 2023. I have not received any request to be excluded from

the settlement.

       12.        The Notice also informs potentially Eligible Class Members that objections to the

settlement must be in writing and filed with the Court by September 29, 2023, with a copy sent to

Class Counsel and Defendants’ Counsel. Should any Class Member erroneously submit an

objection to the Claims Administrator, I will forward such objection to Class Counsel, Defendants’

Counsel, and the Court. To date, I have received no such objections.

       13.        I have monitored and will continue to monitor all mail delivered to the address

listed in the Notice and on the settlement website and update this declaration to the extent I learn

of any additional relevant information.

                                     [Signature Page to Follow]




                                                 -5-
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                                           ***

   I declare under penalty of perjury that the foregoing is true and correct.

Respectfully submitted this 5th day of September 2023.



                                                 Simone K. Lelchuk




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                   Exhibit A-1
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SPORTS                                                                                                                                                     USA TODAY ❚ FRIDAY JULY 7, 2023 ❚ 5C




‘Pirate of the Caribbean,’ US set to face Canada
Jim Reineking                                   The whimsical nickname                         Concacaf Gold Cup                                                 2022, he was signed to a designated
USA TODAY                                       has caught on fast, as Fox                                                                                       player contract through 2025.
                                                                                               Quarterfinals
                                                Sports analyst (and for-                                                                                             Ferreira has appeared in 132 games,
   On Sunday, the U.S. men’s national           mer USMNT player) Stu                          Saturday, at Arlington, Texas                                     114 starts, for FC Dallas. He has tallied 46
soccer team takes on Canada in the final        Holden mentioned it on                         Panama vs. Qatar, 7 EDT                                           goals, with 28 coming in the 2022-23
game of the Concacaf Gold Cup quarter-          air during the win July 2.                                                                                       MLS seasons. His 18 in 2022 tied him for
                                                                                               Mexico vs. Costa Rica, 9:30 EDT
finals, and the player responsible for                                       Ferreira                                                                            fourth (with the Los Angeles Galaxy’s
making it possible is a history-making          Social media                                   Sunday, at Cincinnati                                             Javier “Chicharito” Hernández), five off
22-year-old.                                                                                   Guatemala vs. Jamaica, 5 EDT                                      the 23 scored by league leader (and
   Jesús Ferreira recorded a hat trick in          Unfazed by the social media chatter                                                                           MVP) Hany Mukhtar of Nashville SC.
                                                                                               USU vs. Canada, 8 EDT
consecutive games, a first in the men’s         surrounding the level of competition                                                                                 On Feb. 1, 2020, Ferreira made his
program history, in the group stage after       against whom he’s scored many of his                                                                             USMNT debut in a friendly against Cos-
the USA opened with a tie. He provided          goals, he only seems concerned with            said after Sunday’s win. “All of the work                         ta Rica. On Jan. 31, 2021, he scored his
the first three goals in the 6-0 demoli-        putting the ball in the back of the net.       that he’s doing, leading our line defen-                          first and second USMNT goals in a 7-0
tion of Trinidad and Tobago last Sun-              “I try to stay off social media as much     sively, dropping down, helping build up                           friendly win over Trinidad and Tobago.
day, four days after scoring three in the       as I can,” Ferreira said after the win         play, for me he’s having a really com-
6-0 win over St. Kitts and Nevis.               against Trinidad and Tobago. “For me,          plete tournament.”                                                 At the 2022 World Cup
   With his second goal vs. St. Kitts and       as a forward, it’s always my job to score
Nevis, Ferreira became the fastest              goals, to come in and try to score goals       Who is the 22-year-old?                                              Ferreira made coach Gregg Berhal-
USMNT player to score 10 goals, doing           against whoever’s in front of us. Yeah,                                                                          ter’s 26-player roster for last year’s
so in 20 appearances; the previous best         I’ve scored a lot of goals against Carib-         Ferreira is the son of former Colombi-                         World Cup in Qatar. However, he did not
was by Clint Mathis, who hit double-            bean teams, but, like I said, my job is to     an midfielder David Ferreira, who                                 play in the three group stage games, as
digit goals in 23 caps.                         score goals and I’m gonna do that no           played in five seasons for FC Dallas and                          Josh Sargent and Haji Wright manned
   With his back-to-back hat tricks, Fer-       matter who’s in front of us.”                  was the 2010 MLS MVP. David Ferreira                              the team’s No. 9 (striker) position. Fer-
reira joined Landon Donovan as the only                                                        also made 39 appearances for Colombia,                            reira did start in the USMNT’s Round of
American male players with three hat            What did the USMNT coach say?                  scoring three goals.                                              16 game against the Netherlands but
tricks. Ferreira’s first hat trick came                                                           On Dec. 24, 2000, Jesús Ferreira was                           was subbed off at the half as the team
against Grenada on June 10, 2022, when             Ferreira’s history-making goal-scor-        born in Santa Marta, Colombia, and                                was eliminated in a 3-1 defeat.
he scored four goals in a 5-0 win in Con-       ing run might just be the start for a          moved to Dallas at the age of 10 when his                            Ferreira hopes to be a part of the
cacaf Nations League play.                      young player who has plenty of time to         father signed with FC Dallas.                                     USMNT roster for the 2026 World Cup.
   Twelve of Ferreira’s 14 USMNT goals          develop into a world-class striker.               Signed to a homegrown player con-                                 “Hopefully I get the opportunity to be
have been against Caribbean nations,               “When I see his movement and his            tract by FC Dallas on Nov. 17, 2016, Fer-                         at another World Cup,” he told 90min. “I
and that success against those teams            confidence in the penalty box, you can         reira made his professional debut in                              think it would be just like the first one: a
has earned the forward a new nick-              tell that the game has slowed down for         2017 and two years later signed a four-                           dream come true to be able to represent
name, “The Pirate of the Caribbean.”            him,” U.S. interim coach B.J. Callaghan        year contract with FC Dallas. In January                          the United States, especially at home.”



WEEKEND AUTO RACING
NASCAR Cup Series                     12th of his career. … John
                                      Hunter Nemechek’s points lead
Quaker State 400
                                      is 16 over Austin Hill and 44
  TV: 7 p.m. EDT, USA
                                      ahead of Custer.                                                                                     NOTICES
  Track: Atlanta Motor Speed-
way in Hampton                        NASCAR Craftsman                                                                                LEGAL NOTICE
  Shane van Gisbergen won on          Truck Series
the streets of Chicago in his                                                                         UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF NEW YORK
                                      O’Reilly Auto Parts 150                                Jane Doe 1, individually and on behalf of all others similarly situated,
Cup Series debut, becoming
                                      at Mid-Ohio                                                  v.
                                                                                                       Plaintiff,                                                     Case No.
the first driver to win his debut                                                                                                                                     1:22-CV-10018 (JSR)
                                         TV: 1:30 p.m. EDT, FS1                              Deutsche Bank Aktiengesellschaft, et al.,
since Johnny Rutherford in                                                                             Defendants.
                                         Track: Mid-Ohio Sports Car
1963. Van Gisbergen became                                                                       SUMMARY NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION
                                      Course
the sixth driver born outside                                                                TO: ALL VICTIMS OF JEFFREY EPSTEIN’S SEX TRAFFICKING
                                         Corey Heim leads the stand-
the United States to win a Cup                                                                   VENTURE DURING THE TIME PERIOD AUGUST 19, 2013 TO
                                      ings despite having raced only                             AUGUST 10, 2019 (“CLASS”)
race, joining Marcos Ambrose,
                                      12 of the 13 events in 2023.                           THIS NOTICE WAS AUTHORIZED BY THE COURT. IT IS NOT A LAWYER SOLICITATION.
Mario Andretti, Juan Pablo
                                      He’s 16 ahead of defending                             PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY.
Montoya, Earl Ross and Daniel                                                                   YOU ARE HEREBY NOTIFIED that a hearing will be held on October 20, 2023, at 4:00 PM EDT,
                                      series champion Zane Smith                             before the Honorable Jed S. Rakoff at the United States District Court for the Southern District of New
Suárez. …Christopher Bell won
                                      and 31 ahead of Grant Enfinger.                        York, Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, NY, 10007 to
the two stages and led a race-                                                               determine whether: (1) the proposed settlement (the “Settlement”) of the above captioned case (“Litiga-
                                      Heim has finished in the top 10                        tion”) as set forth in the Amended Stipulation of Settlement dated June 16, 2023 (“Stipulation”)1 for
high 37 laps but faded to 18th.
                                      in 10 starts. … Smith, Enfinger,                       $75,000,000 in cash should be approved by the Court as fair, reasonable, and adequate; (2) the Judgment
… Justin Haley finished second,                                                              as provided under the Stipulation should be entered dismissing the Litigation with prejudice; (3) to award
                                      Christian Eckes and Carson                             Boies Schiller Flexner LLP and Edwards Henderson Lehrman attorneys’ fees, costs, and expenses out of
followed by Chase Elliott, Kyle                                                              the Settlement Fund and Class Representative an incentive award out of the Global Settlement Fund (as
                                      Hocevar each have won twice.
Larson and Kyle Busch.                                                                       deﬁned in the Notice of Proposed Settlement of Class Action (“Notice”), which is discussed below) and,
                                                                                             if so, in what amount; and (4) the Plan of Allocation (as described in the Stipulation and Notice) should
                                      Formula 1                                              be approved by the Court as fair, reasonable, and adequate. The Court may adjourn or continue the Settle-
NASCAR Xfinity Series                                                                        ment Hearing, or hold it via telephone or video conference, without further notice to Class Members.
                                      British Grand Prix                                        You are a “Class Member” if you were abused or trafﬁcked by Jeffrey Epstein (Epstein) and/or his
Alsco Uniforms 250                                                                           associates during the period between August 19, 2013 and August 10, 2019, including, but not limited
                                         TV: 10 a.m. EDT Sunday,                             to, as set forth below:
  TV: 8 p.m. EDT Saturday, USA
                                      ESPN                                                      (1) You were a girl under the age of 18 and engaged in sexual contact with Epstein and/or a person
  Track: Atlanta Motor Speed-                                                                associated with Epstein, and you received money or something else of value in exchange for engaging in
                                         Track: Silverstone Circuit in                       that sexual contact (even if you perceived the sexual contact as consensual);
way
                                      Northamptonshire, England.                                (2) You were a woman aged 18 or older, and Epstein and/or a person associated with Epstein forced,
  Cole Custer was declared the                                                               coerced, or defrauded you into engaging in sexual contact by, for example, using physical force, threaten-
                                         Reigning F1 champion Max                            ing serious harm or legal action against you or someone else, making you a false promise, or causing you
winner of the street race in
                                      Verstappen has won the past                            to believe that not engaging in sexual contact would result in serious harm to you or someone else, and
Chicago after a lightning strike                                                             you received money or something else of value in exchange for engaging in that sexual contact; or
                                      five races and seven of the                               (3) You were a girl or woman of any age and Epstein and/or a person associated with Epstein engaged
and persistent rain flooded                                                                  in sexual contact with you without your consent (even if you perceived the sexual contact as consensual
                                      nine in 2023 while Red Bull
parts of the course. The last                                                                provided you were under the age of 18 at the time of engaging in that contact).
                                      teammate Sergio Perez has                                 To share in the distribution of the Settlement Fund, you must establish your rights by submitting a Tier
half of the race, which had                                                                  One Form by mail or electronically (no later than 11:59 PM EDT on August 12, 2023). Your failure to
                                      won the other two. … Verstap-
been set to resume Sunday                                                                    submit a Tier One Form by 11:59 PM EDT on August 12, 2023 will result in a rejection of your claim
                                      pen started from the pole Sun-                         and preclude you from receiving any recovery in connection with the Settlement of this Litigation. To
after it was suspended Sat-                                                                  recover additional proceeds, you must also submit a Tier Two Questionnaire and Release by 11:59 PM
                                      day for the fourth race in a row                       EDT on August 27, 2023. To opt-out of the Settlement and preserve your claims related to the Litigation,
urday because of lightning,
                                      and increased his lead to 81                           you must submit an Opt-Out Form by 11:59 PM EDT on July 28, 2023. If you are a Class Member, you
was canceled. Custer’s victory                                                               will be bound by the Settlement and any judgment and release entered in the Litigation, including, but not
                                      points over Perez.                                     limited to, the Judgment, whether or not you submit a (1) Tier One Form, or (2) Tier One Form and a Tier
was his second this year and
                                                     – Associated Press                      Two Questionnaire and Release, unless you submit a timely Opt-Out Form.
                                                                                                If you would like a copy of the Notice, which more completely describes the Settlement and your
                                                                                             rights thereunder (including your right to object to the Settlement), or the Settlement Forms described
                                                                                             herein, you may obtain these documents, as well as a copy of the Stipulation (which, among other things,
                                                                                             contains deﬁnitions for the deﬁned terms used in this Summary Notice) and other Settlement documents,
                                                                                             online at www.epsteinSSFDB.com, or by writing to:
                                                                                                                                          Simone K. Lelchuk
                                                                                                                                           c/o Frejka PLLC
                                                                                                                      415 East 52nd Street | Suite 3, New York, New York 10022
                                                                                                                  Telephone: 212-641-0800, Email: Simone.K.Lelchuk@gmail.com
                                                                                                Inquiries should NOT be directed to Defendants, Defendants’ Counsel, the Court, or the Clerk of the
                           GOLF PRODUCTS                                                     Court.
                                                                                                Inquiries, other than requests for the Notice or for the Settlement Forms, may be made to Lead Class
                                                                                             Counsel:                                     Brittany Henderson

   GOLF’S ABOUT HAVING                                                                                                                     Bradley Edwards
                                                                                                                               EDWARDS HENDERSON LEHRMAN
                                                                                                                        1501 Broadway, Floor 12, New York, New York 10036



   FUN!
                                                                                                            Email: EpsteinDBSettlement@epllc.com, Toll-Free Telephone: 800-400-1098
                                                                                                IF YOU DESIRE TO BE EXCLUDED FROM THE CLASS, YOU MUST SUBMIT A REQUEST
                                                                                             FOR EXCLUSION (OPT-OUT FORM) SUCH THAT IT IS POSTMARKED OR SUBMITTED
                                                                                             ELECTRONICALLY BY 11:59 PM EDT ON JULY 28, 2023, IN THE MANNER AND FORM
                                                                                             EXPLAINED IN THE NOTICE. ALL MEMBERS OF THE CLASS WHO HAVE NOT REQUESTED
                                                                                             EXCLUSION FROM THE CLASS WILL BE BOUND BY THE SETTLEMENT EVEN IF THEY DO
   Replace your                                                                              NOT SUBMIT SETTLEMENT FORMS.
                                                                                                IF YOU ARE A CLASS MEMBER, YOU HAVE THE RIGHT TO OBJECT TO THE SETTLEMENT,
                                                                                             THE PLAN OF ALLOCATION, THE REQUEST BY CLASS COUNSEL NOT TO EXCEED THIRTY
   hard-to-hit                                                                               PERCENT (30%) OF THE SETTLEMENT AMOUNT AND COSTS AND EXPENSES NOT TO
                                                                                             EXCEED $1,500,000.00, PLUS INTEREST EARNED ON BOTH AMOUNTS AT THE SAME RATE
                                                                                             AS EARNED BY THE GLOBAL SETTLEMENT FUND. ANY OBJECTIONS MUST BE FILED WITH
   irons                                                                                     THE COURT AND RECEIVED BY CLASS COUNSEL AND DEFENDANTS’ COUNSEL BY 11:59
                                                                                             PM EDT ON SEPTEMBER 29, 2023 IN THE MANNER AND FORM EXPLAINED IN THE NOTICE.
                                                                                             DATED: June 27, 2023                        BY ORDER OF THE UNITED STATES DISTRICT COURT
                                                                                                                                         SOUTHERN DISTRICT OF NEW YORK
                                                                                             1
                                                                                                 The Stipulation can be viewed and/or obtained at www.epsteinSSFDB.com.




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     T EC H N O LO GY                       888.833.7371
    Additional online listings are available on classiﬁeds.usatoday.com
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                    Exhibit A-2
                                                                      Case 1:22-cv-10018-JSR Document 98-1 Filed 09/05/23 Page 11 of 11




       Gazeta Wyborcza
       Piątek, 7 lipca 2023                                                                                           Polska                                                                                             7


       Jak uciszano sędziego Tuleyę
       Sędzia Igor Tuleya został                          go Biura Antykorupcyjnego czy Sej-              z obywatelami uznał za oczywiste       prokuratury o odmowie wszczęcia           ETPC „przyjął tę decyzję z zado-
                                                          mu. Z tego powodu był atakowany                 korzystanie przez sędziego ze swo-     śledztwa w sprawie nieprawidło-        woleniem”, uznając ją za „pozytyw-
       pozbawiony immunitetu                              przez polityków partii rządzącej.               body wypowiedzi.                       wości przy sejmowym głosowaniu.        ną zmianę wobec kryzysu prawo-
       z naruszeniem europej-                                 Rozprawę z Tuleyą i innymi sę-                 – ETPC po raz kolejny powie-        Gdy sędzia zezwolił mediom na re-      rządności w Polsce”. Zauważył jed-
                                                          dziami umożliwiła zmiana prawa                  dział bardzo ważne zdanie: sędzio-     jestrację uzasadnienia, prokuratura    nak, że chociaż sędziego przywróco-
       skiej konwencji praw czło-                         z 2018 r. Wpływ na postępowania                 wie mają nie tylko prawo, ale także    uznała, że Tuleya ujawnił tajemnicę    no do pracy i wypłacono mu zaległe
       wieka – orzekł wczoraj                             dyscyplinarne uzyskał wtedy mi-                 obowiązek stawać po stronie prawo-     śledztwa (chociaż sędzia miał pra-     wynagrodzenie, decyzja ID o uchy-
       Trybunał w Strasburgu.                             nister sprawiedliwości Zbigniew                 rządności. Nie wolno ich za to karać   wo zdecydować o jawności sprawy).      leniu mu immunitetu nadal pozo-
                                                          Ziobro, który powołał najważniej-               – mówi pełnomocniczka Tulei, ad-       Grozi za to do dwóch lat więzienia.    staje w mocy. „Postępowanie kar-
       Środki podejmowane wo-                             szych rzeczników dyscyplinarnych                wokatka Sylwia Gregorczyk-Abram.          Immunitet sędziemu uchyliła         ne najwyraźniej nadal trwa” – za-
       bec sędziego naruszyły jego                        sędziów w kraju. Głównym sądem                                                         w 2020 r. Izba Dyscyplinarna utwo-     uważył Trybunał.
                                                          dyscyplinarnym została zaś Izba                 Prokuratura nie odpuszcza              rzona w SN w ramach „reformy”
       prawo do prywatności i swo-                        Dyscyplinarna utworzona w Są-                   Po rzecznikach dyscyplinarnych         prezydenta Andrzeja Dudy. Prezy-       400 kolejnych spraw
       body wypowiedzi. – Wydaje                          dzie Najwyższym.                                Ziobry za Tuleyę zabrała się Proku-    dent obsadził ją m.in. byłymi pro-     Orzeczenie ETPC to już dziewiąty
       się, że chodziło o zastra-                             „Od wejścia w życie przepisów               ratura Krajowa, którą Ziobro kon-      kuratorami Ziobry i prawnikami         wyrok, który dotyczy zmian wpro-
                                                          w 2018 r. wszczęto liczne postępo-              troluje jako prokurator generalny.     powiązanymi z PiS. Wskazała ich        wadzanych przez PiS w sądownic-
       szenie czy nawet uciszenie                         wania dyscyplinarne wobec sędziów               W 2020 r. wystąpiła o uchylenie sę-    obsadzona wcześniej przez Sejm         twie. Wszystkie rozstrzygnięte do-
       sędziego – uznał ETPC.                             w związku z ich orzeczeniami lub                dziemu immunitetu. Chciała ścigać      Krajowa Rada Sądownictwa. Z te-        tąd sprawy zakończyły się przegraną
                                                          działalnością publiczną” – zauwa-               Tuleyę za czynności, które podej-      go powodu polskie sądy i między-       rządu i wyrokami stwierdzającym
                                                          żył ETPC.                                       mował na sali rozpraw. W 2017 r.       narodowe trybunały uznały póź-         łamanie praw człowieka. Narusze-
       Łukasz Woźnicki                                        W sprawie Tulei rzecznicy Zio-              sąd z jego udziałem uchylił decyzję    niej, że ID nie była sądem.            nia konwencji Trybunał stwierdził
                                                          bry w 2018 r. wszczęli siedem postę-                                                      Wczoraj ETPC odwołał się do         wcześniej m.in. w sprawach innych
       – To kolejna zwycięska bitwa, ale                  powań wyjaśniających. Sędzia mu-                                                       swoich wcześniejszych wyroków          szykanowanych sędziów: Waldema-
       wojna w obronie praworządności                     siał się tłumaczyć z udziału w spo-                                                    ws. Izby Dyscyplinarnej. „Biorąc pod   ra Żurka z Krakowa i Pawła Juszczy-
       nie została jeszcze wygrana – powie-               tkaniach i konferencjach czy kry-                                                      uwagę ustalenie, że ID nie była »są-   szyna z Olsztyna. Obecnie przed Try-
       dział po wyroku Tuleya. Orzecze-                   tycznych wypowiedzi w mediach.                      ETPC po raz kolejny                dem«, decyzja o uchyleniu immuni-      bunałem toczy się 397 innych postę-
       nie Europejskiego Trybunału Praw                   Kolejne postępowanie rzecznicy                                                         tetu i zawieszeniu sędziego nie mo-    powań dotyczących zmian w pol-
                                                                                                               powiedział bardzo
       Człowieka nazwał sukcesem nie tyl-                 Ziobry zainicjowali, gdy Tuleya za-                                                    gła zostać uznana za zgodną z pra-     skim sądownictwie z lat 2017-18.
       ko swoich pełnomocników, ale tak-                  pytał unijny Trybunał Sprawiedli-                  ważne zdanie: sędziowie             wem” – dodał.                             „Rząd nie może wypłacić Igoro-
       że obywateli, którzy od 2015 r. wy-                wości o nowy system dyscyplinarny.                  mają nie tylko prawo,                 Nielegalna ID nie tylko wyraziła    wi Tulei wskazanej kwoty zadość-
       stępują w obronie wolnych sądów.                   W ślad za przedłużającymi się po-                   ale także obowiązek                zgodę na pociągnięcie sędziego do      uczynienia” – skomentował wczo-
                                                          stępowaniami szły dyskredytujące                                                       odpowiedzialności karnej, ale tak-     rajszy wyrok wiceminister sprawie-
       Siedem postępowań                                  sędziego materiały w państwowej                       stawać po stronie                że go zawiesiła i obniżyła mu wy-      dliwości Sebastian Kaleta. ETPC za-
       Igor Tuleya jest sędzią Sądu Okręgo-               telewizji i prorządowych mediach.                   praworządności. Nie                nagrodzenie. Tuleya nie mógł orze-     rzucił „podwójne, bezprawne stan-
       wego w Warszawie, od lat angażuje                      „Żadne z tych postępowań nie                    wolno ich za to karać              kać przez ponad dwa lata. Do pracy     dardy”. „Na szczęście – co wynika
       się w obronę niezależności sądow-                  doprowadziło do wszczęcia prze-                                                        w listopadzie ub.r. przywróciła go     z orzecznictwa TK – to orzeczenie
       nictwa i orzekał w głośnych spra-                  ciwko niemu postępowania dyscy-                                                        nowa Izba Odpowiedzialności Za-        nie ma żadnej mocy wiążącej dla
       wach karnych. W swoich orzecze-                    plinarnego” – zauważył po latach                     SYLWIA GREGORCZYK-ABRAM           wodowej utworzona na miejsce zli-      Polski” – twierdzi wiceminister, cho-
       niach wskazywał nieprawidłowo-                     ETPC. Publiczne wypowiedzi Tu-                          pełnomocniczka Igora Tulei     kwidowanej ID. – Sędzia nie popełnił   ciaż Polska zobowiązała się wyko-
       ści m.in. w działalności Centralne-                lei czy jego udział w spotkaniach                                                      żadnego przestępstwa – stwierdziła.    nywać wyroki ETPC. +



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1 RP   OGŁOSZENIE 34262529                                                                                OGŁOSZENIE 34261723
